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                     IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



Ohio Right to Life Society, Inc.,

                       Plaintiff,

-v-                                                           Case No.: 2:08-cv-00492
                                                              JUDGE SMITH
                                                              Magistrate Judge Deavers
Ohio Elections Commission, et al.,

                       Defendants.



                                      CONSENT DECREE

       Plaintiff, Ohio Right to Life Society, Inc. (“ORTL”) has brought this action against the

Ohio Elections Commission (“OEC”), the individual members of the OEC, and Jennifer

Brunner, Ohio’s Secretary of State (“Ohio’s Secretary of State”).

       The Parties have determined that the issues expressly set forth in this Consent Decree are

severable from the other issues that remain pending in this case. In addition, the Parties have

agreed that there is no just reason for delay in entering final judgment as to the issues and claims

se forth in this Consent Decree.

       The parties also agree that: (i) there is no need for further litigation as to the issues and

claims set forth in this Consent Decree; and, (ii) the parties agree to the jurisdiction of the Court

over the parties and the subject matter of this action, pursuant to 28 U.S. §§ 1331, 1343 and 42

U.S. § 1983 with respect to the issues set forth in this Consent Decree.

       Subject to this Court’s approval of this Decree, and subject to the continuing validity of

this Decree, if it or its terms are challenged in any other court, the parties waive a hearing and

findings of fact and conclusion of law on the issues specifically set forth in this Decree. The

parties also agree that this Decree is final and binding among and between themselves, as to the
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claims and issues specifically set forth in this Consent Decree.

       This Decree, being entered with the consent of the parties, shall not be construed as an

admission by the Defendants of any wrongdoing or violation of the United States Constitution or

of any applicable state or federal law or regulation.

       Thus, in resolution of the issues expressly set forth in this Consent Decree, the parties

hereby AGREE to, and the Court expressly APPROVES, ENTERS and ORDERS, the following:

DECLARATIVE AND INJUNCTIVE RELIEF.

       When R.C. § 3517.1011(H) and R.C. § 3517.01(B)(6) are read together, the Court and

parties agree that the statutes, are unconstitutional, to the extent that they prohibit a corporation

from using its corporate treasury dollars, or a labor organization from using its treasury dollars to

independently pay for any broadcast, cable, or satellite communication that refers to a “clearly

identified candidate”, as defined in R.C. § 3517.1011, during the thirty days preceding a primary

election or thirty days preceding a general election.

       The Court and the Parties agree that R.C. § 3599.03(A) is unconstitutional to the extent

that it prohibits a corporation or labor organization from using the corporation’s money or

property, or a labor organizations money or property, to make independent expenditures for or in

aid of candidate elections in Ohio.

       Accordingly, the Court grants preliminary and permanent injunctive relief prohibiting

defendants from enforcing these statutes in connection with any independent expenditure by

corporations or labor unions in the manners noted above.



SPECIFICALLY RESERVED ISSUES AND CERTIFICATION.

       A.      This Consent Decree does not apply to any issues as to which the parties have not




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specifically agreed in this Consent Decree.


               IT IS SO ORDERED.


                                                  /s/ George C. Smith
                                                  GEORGE C. SMITH, JUDGE
                                                  UNITED STATES DISTRICT COURT




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